                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

OnSomble, Inc.,                           )
                                          )
        Plaintiff,                        )
                                          )
v.                                        )       Case No. 3:16-cv-493
                                          )
Maria O’Rourke,                           )       Judge Crenshaw
                                          )       Magistrate-Judge Newbern
        Defendant.                        )
                                          )

     Reply in Support of Defendant’s Motion for Determination of Privilege

        The Defendant, Maria O’Rourke, makes the following arguments in further

support of her Motion for Determination of Privilege (Doc. 77), to correct and respond

to the arguments made by the Plaintiff, OnSomble, Inc. (“OnSomble”) in its opposition

to the Motion for Determination of Privilege (Doc. 85) (the “Opposition” or “Opp.”).

I.      OnSomble’s efforts to avoid disclosure of the documents at issue were
        unreasonably sloppy. Among other things, OnSomble spent less than
        three seconds per page in pre-production review, and was not looking
        for privileged documents during that review.

        To determine whether Plaintiff’s efforts to prevent disclosure of the documents at

issue were reasonable, the Court must be told, at a minimum, what Plaintiff’s counsel

did to prevent the disclosure. See First Tech. Capital, Inc. v. JP Morgan Chase Bank,

N.A., 2013 U.S. Dist. LEXIS 185763, at *9-10 (E.D. Ky. Dec. 10, 2013) (“The

reasonableness of preventive steps surely includes both a design and an implementation

component.”). Yet, Plaintiff’s counsel solely responsible for the review and production of

Plaintiff’s documents, James Wiggington, discloses next to nothing about what he did to

prevent inadvertent production of privileged documents. All he tells the Court is that (1)


                                              1
     Case 3:16-cv-00493 Document 95 Filed 07/20/17 Page 1 of 12 PageID #: 1167
he spent 36.6 hours “compiling, reviewing, printing, and scanning the document

production”; and (2) that his document review consisted of “reading each document,

determining relevance, and removing items which were not relevant.” Declaration of

James Wiggington (“Wiggington Decl.”) (Doc. 85-2) ¶ 4. He says nothing more about his

pre-production review.

       Astoundingly, Mr. Wiggington does not say he was looking for privileged

documents, only relevant ones.1 For that reason alone, Mr. Wiggington’s plan for

identifying and removing privileged documents was unreasonable, and Defendant’s

Motion should be granted. He was never looking for potentially privileged documents.

       Further, 36.6 hours was far too little time to spend reviewing Plaintiff’s

documents. Mr. Wiggington does not say how many documents he reviewed in those

36.6 hours. He also does not say how much of those 36.6 hours he spent actually

reviewing the documents, as opposed to “compiling, … printing [and] scanning the

document production.” (In this context, “scanning” surely means turning a paper

document into a computer file using a scanning machine.) Plaintiff has produced 51,732

pages of documents so far. See July 19, 2017 Declaration of Richard G. Sanders

(“Sanders Reply Decl.”), ¶ 2. If Mr. Wiggington reviewed only the documents he

produced and spent all of his time reviewing documents, this would amount to 1413

pages per hour, or 23.5 pages per minute, or one page every two and a half seconds. This

would be already unreasonable. See First Tech., 2013 U.S. Dist. LEXIS 185763, at *11

(“[T]he Court is dubious that 9.84 seconds, about the time of an Olympic 100 meters


1 Mr. Wiggington should not have been looking for and removing documents based on
relevance. Plaintiff waived all objections to Defendant’d document requests by failing to raise
them in a timely manner. (See Doc. 83-2.)

                                                2
    Case 3:16-cv-00493 Document 95 Filed 07/20/17 Page 2 of 12 PageID #: 1168
race, is a reasonable investment within which to identify a document, consider author

and recipients, appreciate subject matter, assess for discovery responsiveness, assess for

KRE 503 and federal work-product application, gauge for any exception, and finally

make the decision to withhold or produce.”). But Mr. Wiggington reviewed more than

51,732 pages in 36.6 hours, and he spent only part of those 36.6 hours actually

reviewing documents.

       Mr. Wiggington appears at times to place the blame on a tight schedule. See

Wiggington Decl. ¶¶ 10, 13. But, if so, this was a time-crunch of Mr. Wiggington’s own

making, and it should not excuse his sloppiness. See First Tech., 2013 U.S. Dist. LEXIS

185763, at *14-15 (“A party placing itself in a time vise does not get the same leeway as a

pressured but blameless litigant.”). Defendant served her document requests on

Plaintiff’s counsel on September 2, 2016, yet Plaintiff was still scrambling to produce

documents in May 2017. And this self-created time pressure is not an excuse for failing

to conduct a final review of documents before production. See Wiggington Decl., ¶ 12

(“[D]ue to a technical issue, I was unable to look at the disc in my office. I sent the disc

anyway….”).2

       OnSomble appears to contend that the documents in question should be returned

because they were (according to OnSomble) not responsive to Defendant’s document



2 There are inconsistencies in Mr. Wiggington’s declaration that call into question the reliability of
his testimony. First, he testifies that he mailed a disc containing Bates labeled version of the
initial November 2016 paper production. That disc was never received. See Sanders Reply
Decl. ¶ 3. Further, when those Bates-labeled scanned documents were produced, they were not
identical to the initial November 2016 paper production. See Doc. 83 ¶¶ 8-9. They were in a
different order, and they included documents not found in the November 2016 production and
were missing documents found in the November 2016 production. Second, Mr. Wiggington
testifies he wrote the May 30, 2017, letter. He did not. It was signed by John Tennyson. Third, he
testifies that the May 30 letter described the three documents at issue. It did not. See Doc. 83-6.

                                                  3
    Case 3:16-cv-00493 Document 95 Filed 07/20/17 Page 3 of 12 PageID #: 1169
requests. (See Opp. at 13.) The responsiveness or relevance of the documents at issue is

beside the point. There is no basis for clawing back non-responsive or non-relevant

documents. See Fed. R. Civ. P. 26(b)(5)(B); Fed. R. Evid. 502.

       Therefore, because Plaintiff’s counsel did not review Plaintiff’s documents for

privilege, and spent far too little time reviewing the documents, Plaintiff’s efforts to

prevent the production of the documents at issue were unreasonable, and any privilege

in the documents has been waived.

II.    By forwarding the documents at issue to Ms. Mathis-Stump, Mr.
       Mathis destroyed any privilege in them because Ms. Mathis-Stump
       was not a de facto OnSomble employee at the time, and forwarding
       them to her did not further the purpose of securing legal advice.

       In its Opposition, OnSomble admits that Ms. Mathis-Stump was neither an

employee of OnSomble nor OnSomble’s counsel when Mr. Mathis forwarded the

documents at issue to her. Instead, OnSomble argues that, under something it calls the

“Kovel Doctrine,” Ms. Mathis-Stump’s status as an outside independent contractor

preserved the privilege. (Opp. at 6.)

       This argument fails for two independently sufficient reasons. First, while a

recipient’s status as an outside independent contractor does not automatically destroy

the privilege, the outside independent contractor’s relationship to the client must be so

close that she becomes a de facto employee. See Exp.-Imp. Bank of the U.S. v. Asia Pulp

& Paper Co., Ltd., 232 F.R.D. 103, 113 (S.D.N.Y. 2005) (explaining U.S. v. Kovel, 296 F.

2d 918 (2d Cir. 1961)). Here, OnSomble has failed to demonstrate that Ms. Mathis-

Stump’s relationship with itself “was so thoroughly integrated into [its] corporate

structure that [s]he should be treated as though [s]he were a corporate employee for

privilege purposes.” Exp.-Imp. Bank, 232 F.R.D. at 113. Second, even if Ms. Mathis-

                                              4
  Case 3:16-cv-00493 Document 95 Filed 07/20/17 Page 4 of 12 PageID #: 1170
Stump were a de facto employee, she was still not an appropriate recipient of privileged

information, under Upjohn Co. v. United States, 49 U.S. 383 (1981).

A.      Ms. Mathis-Stump was not a de facto OnSomble employee.

        In Kovel, the Second Circuit held that the inclusion of the client’s outside

accountant in attorney-client communications did not destroy the privilege, but only

because the accountant’s presence was “necessary, or at least highly useful, for the

effective consultation between the client and the lawyer.” 296 F.2d at 922. The court

elaborated: “What is vital to the privilege is that the communication be made in

confidence for the purpose of obtaining legal advice from the lawyer.” Id. “If what is

sought is not legal advice by only accounting advice … or if the advice sought is the

accountant’s rather than the lawyer’s, no privilege exists.” Id.

        In In re Bieter, the Eighth Circuit expanded Kovel in light of Upjohn. 16 F.3d 929,

936-37 (8th Cir. 1994). The court held that, under the right circumstances, Upjohn

could be extended to outside consultants. Id. at 938. For example, an outside accountant

might possess insider-level knowledge of the client’s inner workings that, if the

accountant were not permitted to speak frankly and confidentially with the client’s

counsel, the counsel’s ability to represent the client would be compromised. See id. at

937 (following John E. Sexton, A Post-Upjohn Consideration of the Corporate

Attorney-Client Privilege, 57 N.Y.U. L. Rev. 443, 498 (1982)).

        Not all outside consultants will be so crucial to an attorney’s ability to represent a

client, however. The outside consultant must have “assum[ed] the functions and duties

of a full-time employee,” such that the outside consultant becomes a “de facto employee

of the company.” Imp.-Exp. Bank, 232 F.R.D. at 113 (following both Kovel and Bieter).


                                               5
     Case 3:16-cv-00493 Document 95 Filed 07/20/17 Page 5 of 12 PageID #: 1171
In determining whether an outside consultant meets this standard, courts look to: (1)

whether the consultant had primary responsibility for a key corporate job; (2) whether

there was a continuous and close working relationship between the consultant and the

company’s principals on matters critical to the company’s position in litigation; and (3)

whether the consultant is likely to possess information possessed by no one else at the

company. Id.

       The burden of proving the outside consultant meets this standard rests with the

party asserting the privilege. Id. It is a high standard: “Before application of the

attorney-client privilege will be extended to non-employees, however, the party

asserting the privilege must make a detailed factual showing that the non-employee is

the functional equivalent of an employee and that the information sought from the non-

employee would be subject to the attorney-client privilege if he were an employee of the

party.” Horton v. United States, 204 F.R.D. 670, 672-73 (D. Colo. 2002).

       At a minimum, the outside consultant must be extensively involved in the legal

matter at issue. This is made clear in each of the decisions cited by OnSomble that found

the continued existence of privilege. (Opp. at 6.) (In two of the decisions cited by

OnSomble, Noggle and Import-Export Bank, the court found there was no privilege.)

• In RoDa Drilling Co. v. Siegal, 2009 U.S. Dist. LEXIS 4559 (N.D. Okla. Jan. 22,

  2009), the consultant-accountant worked extensively with the plaintiff-client to

  negotiate and document the terms of the agreement that was at issue in the underlying

  lawsuit. Id. at *3-6. The court also held that the accountant’s involvement in the

  attorney-client communications did not destroy the privilege because the deal in




                                              6
  Case 3:16-cv-00493 Document 95 Filed 07/20/17 Page 6 of 12 PageID #: 1172
 question involved complex investments that the attorney needed to have explained.

 See id.

• In American Manufacturers Mutual Insurance Co. v. Payton Lane Nursing Home,

 Inc., 2008 U.S. Dist. LEXIS 100080, at *7-9 (E.D.N.Y. Dec. 11, 2008), the outside

 consultant at issue was the plaintiff-client’s construction consultant, placed in charge

 of overseeing the day-to-day operations of the plaintiff-client’s construction project at

 issue in the underlying lawsuit. The plaintiff-client lacked the expertise to manage a

 construction project and granted the outside consultant with authority to make

 decisions on the plaintiff-client’s behalf, including entering contracts. The

 construction consultant was also the plaintiff-client’s “eyes and ears” in connection

 with the project and thus possessed information not possessed by anyone within the

 plaintiff-client’s organization.

• In CoorsTek, Inc. v. Reiber, 2010 U.S. Dist. LEXIS 42594, at *16-17 (D. Colo. Apr. 5,

 2010), the clients were inventors who lacked expertise in a field related to their

 invention. They hired an outside consultant in that field to assist them and their

 patent attorney in preparing the applications for the patents at issue in the underlying

 lawsuit.

• Leone v. Owsley stands for the unremarkable proposition that communications

 between counsel and non-testifying experts retained by the counsel are privileged.

 2013 U.S. Dist. LEXIS 75432, at *10-11 (D. Colo. May 29, 2013), rev’d on other

 grounds, 810 F.3d 1149 (8th Cir. 2015). Contrary to OnSomble’s description of this

 opinion, it does not cite Kovel or have anything to do with insurance brokers.




                                            7
  Case 3:16-cv-00493 Document 95 Filed 07/20/17 Page 7 of 12 PageID #: 1173
• Hadjih v. Evenflo Co. (sometimes known as A.H. v. Evenflo Co.) involved a public

 relations firm that worked extensively with Evenflo’s counsel regarding the recall of

 the product at issue in the underlying lawsuit. 2012 U.S. Dist. LEXIS 76100, at *12 (D.

 Colo. May 31, 2012). Evenflo lacked a public relations department, and the public

 relations firm prepared a “communications plan regarding the recall” that had to be

 coordinated with the efforts of Evenflo’s counsel. See id.

      Here, there is no evidence, let alone a “detailed factual showing,” that Ms.

Mathis-Stump was actively involved in any legal matter. Based on the evidence provided

by OnSomble, Ms. Mathis-Stump was nothing more than a passive recipient of the

documents at issue. Nowhere in Ms. Mathis-Stump’s declaration does she explain why

these documents were forwarded to her, or what role she played in the underlying legal

dispute (if one existed). She does not explain what information she alone possessed that

would have been relevant to Mr. Abdou’s assessment of the legal dispute. There is also

no testimony from either Mr. Mathis about why he forwarded the documents to Ms.

Mathis-Stump, or from Mr. Abdou about why he might have wanted Ms. Mathis-Stump

involved.

      Indeed, none of the tasks Ms. Mathis-Stump performed on OnSomble’s behalf

relates to the underlying dispute in the documents. By the date the documents were

forwarded to her, Ms. Mathis Stump’s consisted only of auditing investor files; writing

blog posts; recording investor transactions; preparing and issuing stock certificates;

drafting business plans; maintaining a “digital archive of company files”; leading

undisclosed “research, writing and planning projects”; collaborating with Defendant on

a book; and helping prepare a new joint Ethos-OnSomble product (but which was


                                            8
  Case 3:16-cv-00493 Document 95 Filed 07/20/17 Page 8 of 12 PageID #: 1174
quickly abandoned). Declaration of Rebekah Mathis-Stump (Doc. 85-1), ¶¶ 4-10, 13.

None of these responsibilities implicates the debt OnSomble owed the Defendant, let

alone any kind of specialized information that she possessed or required to carry out her

duties.

          Ms. Mathis-Stump is also silent about how much, and what proportion, of her

time she spent working on OnSomble’s behalf, where she worked, who supplied her

office space and her equipment, and other indicia of a relationship with OnSomble that

might have been the functional equivalent of a employer-employee relationship. See

Restatement (Second) of Agency § 220(2) (1958). All she discusses is what her duties

were, none of which was so overarching as to suggest the functional equivalent of an

employer-employee relationship. In Import-Export Bank, a decision relied on by

OnSomble, the court found the privilege in the attorney-client communication was

destroyed by the inclusion of the outside consultant, even though he spent 85% of his

time on the transaction in question, worked closely with the client’s insiders on the

transition and had been provided an office by the client. 232 F.R.D. at 113-14. Ms.

Mathis-Stump does not even provide this much information in support of OnSomble’s

position.

          For these reasons, Ms. Mathis-Stump was not a de facto employee of OnSomble.

Therefore, by forwarding the documents at issue to Ms. Mathis-Stump, Mr. Stump

destroyed any privilege in those documents.

B.        Even if Ms. Mathis-Stump were a de facto employee of OnSomble, she
          was not an appropriate recipient of the documents at issue.

          OnSomble’s analysis of Ms. Mathis-Stump’s role stops at the issue of whether she

was a de facto employee of OnSomble, appearing to believe that the privilege is

                                              9
     Case 3:16-cv-00493 Document 95 Filed 07/20/17 Page 9 of 12 PageID #: 1175
maintained no matter which OnSomble employee (or functional equivalent thereof)

receives the attorney-client communications. If so, OnSomble is mistaken. As Bieter

makes clear, a finding that an outside counsel is a de facto employe does not end the

analysis, but is only the first part of a two-part question. 16 F.3d at 938. First, is Ms.

Mathis-Stump’s relationship to OnSomble of the sort that justifies application of the

privilege? See id. The answer to that question is no, as argued above. Second, is Ms.

Mathis-Stump an appropriate representative of OnSomble for purposes of an Upjohn

analysis? See id. The answer to this question is also no, as argued below. Indeed, in

Bieter, the court found that, although the outside consultant was a de facto employee of

the client, he was not an appropriate participant in attorney-client communications

under Upjohn, and the privilege was destroyed thereby. Id. at 938-39.

       The participation of a client’s employee in a communication with the attorney is

privileged only if “(1) the communication was made for the purpose of securing legal

advice; (2) the employee making the communication did so at the direction of his

corporate superior; (3) the superior made the request so that the corporation could

secure legal advice; (4) the subject matter of the communication is within the scope of

the employee's corporate duties; and (5) the communication is not disseminated beyond

those persons who, because of the corporate structure, need to know its contents.” Id. at

936 (quoting Diversified Indus., Inc. v. Meredith, 572 F.2d 596, 609 (8th Cir. 1977),

cited with approval by Upjohn, 449 U.S. at 391, 396)). The determination is made on a

case-by-case basis. See Upjohn, 449 U.S. at 396-97.

       Once again, there is no evidence that, by forwarding the documents to Ms.

Mathis-Stump, Mr. Stump was attempting to secure or propagate any legal advice, that


                                              10
  Case 3:16-cv-00493 Document 95 Filed 07/20/17 Page 10 of 12 PageID #: 1176
the subject matter of the attorney-client communications was within Ms. Mathis-

Stump’s corporate duties, or that Ms. Mathis-Stump needed to know the contents of the

documents based on OnSomble’s corporate structure.

       Therefore, because Ms. Mathis-Stump was not an appropriate recipient of the

documents at issue under Upjohn, any privilege in those documents was destroyed the

they were forwarded to her.

III.   Conclusion

       For the foregoing reasons, and the reasons set forth in the Memorandum of Law

in Support of Defendant’s Motion for Determination of Privilege, the Court should find

that Exhibits 1, 2 and 3 to Defendant’s Motion for Determination of Privilege are not

privileged, or that any privilege has been waived.



                                         s/Richard G. Sanders/
                                         Richard G. Sanders (Tenn. BPR No. 23875)
                                         Paul R. McAdoo (Tenn. BPR No. 34066)
                                         AARON & SANDERS, PLLC
                                         810 Dominican Dr., Ste. 208
                                         Nashville, TN 37228-1906
                                         (615) 734-1188
                                         Fax: (615) 250-9807
                                         rick@aaronsanderslaw.com
                                         paul@aaronsanderslaw.com

                                         Attorneys for Defendant




                                            11
  Case 3:16-cv-00493 Document 95 Filed 07/20/17 Page 11 of 12 PageID #: 1177
                            CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing REPLY IN SUPPORT
OF DEFENDANT’S MOTION FOR DETERMINATION OF PRIVILEGE is being filed
and will be furnished via CM/ECF on this the 19th day of July, 2017, to:

John Tennyson
Tennyson & Wiggington
1801 West End Ave., Ste. 800
Nashville, TN 37203

Edward D. Lanquist, Jr.
Scott M. Douglass
Patterson Intellectual Property Law, P.C.
Roundabout Plaza, Ste. 500
1600 Division St.
Nashville, TN 37203


                                        s/Richard G. Sanders
                                        Attorney for Defendant




                                            12
  Case 3:16-cv-00493 Document 95 Filed 07/20/17 Page 12 of 12 PageID #: 1178
